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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK


 DAVID E. YEZEK,

                                        Plaintiff,

                 v.                                              Civil Action No.: 19-CV-1574

VILLAGE OF GOWANDA,
VILLAGE OF GOWANDA POLICE DEPARTMENT,
DENNIS FELDMAN, RICHARD COOPER,
SEAN HOTNICH, PETER RANDALL,
JOHN DOE(s), and JANE DOE(s),

                                        Defendants.


                       STIPULATION OF VOLUNTARY DISMISSAL

                Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

parties, by their counsel, that no party hereto is an infant or incompetent, stipulate that all claims,

causes of action, counterclaims, and third-party actions be dismissed on the merits with prejudice

and without costs, disbursements or attorneys' fees to any party, and that the Clerk of the Court

may file this Stipulation of Voluntarily Dismissal without providing further notice.


 Dated:                               , 2022         Dated:                              , 2022

Rupp Baase Pfa        raf Cunningham LLC             Goldberg Segalla
Attorneys for            David E. Yezek              Attorneys               ts, Peter Randall and
                                                     Sea

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 Dated:                            , 2022

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Village of Gowanda Police Department,
Dennis Feldman, and Richard Cooper,


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